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Approved:      ________________________________________
               Ryan Finkel / Juliana Murray / Micah Fergenson
               Assistant United States Attorneys

Before:        THE HONORABLE GABRIEL W. GORENSTEIN
               United States Magistrate Judge                              23 MAG 2007
               Southern District of New York
 ---------------------------------                   X
                                                     :        SEALED COMPLAINT
                                                     :
 UNITED STATES OF AMERICA
                                                     :        Violations of
                                                     :
            - v. -                                            18 U.S.C. §§ 371, 1343, 1957 and 2;
                                                     :        15 U.S.C. §§ 78j(b) & 78ff; and
 YANPING WANG,                                       :        17 C.F.R. § 240.10b-5
                                                     :
   a/k/a “Yvette,”
                                                     :        COUNTY OF OFFENSE:
             Defendant.                              :        NEW YORK
                                                     :
 ---------------------------------                   X

SOUTHERN DISTRICT OF NEW YORK, ss.:

      Special Agent Nicholas DiMarino, being duly sworn, deposes and says that he is a Special
Agent with the Federal Bureau of Investigation (“FBI”), and charges as follows:

                                        COUNT ONE
                     (Conspiracy to Commit Wire Fraud and Securities Fraud)

        1.       From at least in or about 2018 up to and including at least in or about March 2023,
in the Southern District of New York and elsewhere, YANPING WANG, a/k/a “Yvette,” the
defendant, and others known and unknown, willfully and knowingly combined, conspired,
confederated, and agreed together and with each other to commit offenses against the United
States, to wit, (1) wire fraud, in violation of Title 18, United States Code, Section 1343; and
(2) securities fraud, in violation of Title 15, United States Code, Sections 78j(b) & 78ff, and Title
17, Code of Federal Regulations, Section 240.10b-5.

        2.       It was a part and an object of the conspiracy that YANPING WANG, a/k/a
“Yvette,” the defendant, and others known and unknown, knowingly having devised and intending
to devise a scheme and artifice to defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, would and did transmit and cause to be
transmitted by means of wire, radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme
and artifice, in violation of Title 18, United States Code, Section 1343, to wit, WANG conspired
with others to obtain victims’ money through the use of materially false information and
misrepresentations transmitted over interstate wires, in connection with the unregistered offering
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of common stock of GTV Media Group, Inc. (“GTV”) via a private placement (the “GTV Private
Placement).

         3.     It was further a part and an object of the conspiracy that YANPING WANG, a/k/a
“Yvette,” the defendant, and others known and unknown, willfully and knowingly, directly and
indirectly, by use of a means and instrumentality of interstate commerce and of the mails, and of
a facility of a national securities exchange, used and employed, in connection with the purchase
and sale of a security registered on a national securities exchange and any security not so
registered, a manipulative and deceptive device and contrivance, in violation of Title 17, Code of
Federal Regulations, Section 240.l0b-5, by (a) employing a device, scheme and artifice to defraud;
(b) making an untrue statement of material fact and omitting to state a material fact necessary in
order to make the statement made, in light of the circumstances under which it was made, not
misleading; and (c) engaging in an act, practice and course of business which operated and would
operate as a fraud and deceit upon a person, to wit, WANG conspired with others to fraudulently
induce investors to participate in the GTV Private Placement by providing materially false and
misleading information and representations in connection with purported shares of GTV’s
common stock.

        4.     In furtherance of the conspiracy and to effect its illegal objects, YANPING WANG,
a/k/a “Yvette,” the defendant, and others known and unknown, committed the following overt act,
among others, in the Southern District of New York and elsewhere:

          a. On or about June 5, 2020, WANG, while located in the Southern District of New
York, authorized a wire transfer of $100 million of fraud proceeds to a particular hedge fund.

                          (Title 18, United States Code, Section 371.)

                                         COUNT TWO
                                         (Wire Fraud)

        5.     From at least in or about April 2020 up to and including at least in or about March
2021, in the Southern District of New York and elsewhere, YANPING WANG, a/k/a “Yvette,”
the defendant, knowingly having devised and intending to devise a scheme and artifice to defraud,
and for obtaining money and property by means of false and fraudulent pretenses, representations,
and promises, transmitted and caused to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds,
for the purpose of executing such scheme and artifice, to wit, WANG conducted the GTV Private
Placement to sell GTV stock and fraudulently obtain money from victims through false statements
and misrepresentations, which scheme was furthered through electronic communications and
monetary transfers to and from the Southern District of New York and elsewhere.

                      (Title 18, United States Code, Sections 1343 and 2.)




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                                         COUNT THREE
                                        (Securities Fraud)

         6.      From at least in or about April 2020 up to and including at least in or about March
2021, in the Southern District of New York, and elsewhere, YANPING WANG, a/k/a “Yvette,”
the defendant, willfully and knowingly, directly and indirectly, by use of a means and
instrumentality of interstate commerce and of the mails, and of a facility of a national securities
exchange, used and employed, in connection with the purchase and sale of a security registered on
a national securities exchange and any security not so registered, a manipulative and deceptive
device and contrivance, in violation of Title 17, Code of Federal Regulations, Section 240.10b-5,
by (a) employing a device, scheme and artifice to defraud; (b) making an untrue statement of
material fact and omitting to state a material fact necessary in order to make the statement made,
in light of the circumstances under which it was made, not misleading; and (c) engaging in an act,
practice and course of business which operated and would operate as a fraud and deceit upon a
person, to wit, WANG conducted the GTV Private Placement to sell GTV stock and fraudulently
obtain money from victims through false statements and misrepresentations, which scheme was
furthered through electronic communications and monetary transfers to and from the Southern
District of New York and elsewhere.

  (Title 15, United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations,
                 Section 240.10b-5; and Title 18, United States Code, Section 2.)

                                       COUNT FOUR
                               (Unlawful Monetary Transaction)

        7.      On or about June 5, 2020, YANPING WANG, a/k/a “Yvette,” the defendant, in the
Southern District of New York and elsewhere, within the United States, knowingly engaged and
attempted to engage in a monetary transaction, as defined in Title 18, United States Code, Section
1957(f)(1), in criminally derived property of a value greater than $10,000 that was derived from
specified unlawful activity, to wit, WANG, while located in the Southern District of New York,
authorized a wire transfer of $100 million of fraud proceeds to a particular hedge fund.

                       (Title 18, United States Code, Sections 1957 and 2.)

       The bases for my knowledge and for the foregoing charges are, in part, as follows:

        8.     I am a Special Agent with the FBI and I have been personally involved in the
investigation of this matter. This affidavit is based upon my personal participation in the
investigation of this matter, and my conversations with law enforcement officers, law enforcement
employees, and witnesses, as well as a review of documents. Because this affidavit is being
submitted for the limited purpose of establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation. Where the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated.




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                                            Overview

       9.      Based on my involvement in this investigation, my review of documents,
conversations with witnesses, and other law enforcement officers, I have learned the following, in
substance and in part:

                a.     Between in or about April 2020 and in or about June 2020, YANPING
WANG, a/k/a “Yvette,” the defendant, and others known and unknown, fraudulently obtained
approximately $452 million in victim funds through an illegal private stock offering related to
GTV. WANG was an Executive Director of GTV and was one of the key individuals responsible
for transferring the money raised from the GTV Private Placement. Rather than investing the
funds raised through the GTV Private Placement as the defendant, and others, had promised to
victim-investors, WANG, and others known and unknown, misappropriated approximately
$100,000,000 into a high-risk hedge fund for the ultimate benefit of a close family relative of one
of WANG’s co-conspirators. WANG well knew that funds from the GTV Private Placement
could not be used to invest in a high-risk hedge fund. Indeed, when WANG sought to open a bank
account comprised of funds raised from the GTV Private Placement, WANG stated to a bank, in
part, that such “funds of GTV Media Group [ ] are strickly [sic] for operational purposes and
acquisitions.”

                                   The GTV Private Placement

       10.   Based on my review of documents, videos, conversations with witnesses, and other
law enforcement officers, I have learned the following, in substance and in part:

               a.      On or about April 21, 2020, a co-conspirator not named herein (“CC-1”) 1
posted, and caused to be posted, a video on social media (the “Video”) announcing the unregistered
offering of GTV common stock via a private placement (the “GTV Private Placement”). CC-1
has a substantial online following, and the Video was viewed by thousands of individuals.

               b.      Based on my review of the Video, I have learned that, in the Video, CC-1
described, in substance and in part, the investment terms for the GTV Private Placement and
directed people to contact CC-1, via a mobile messaging application, with any questions about the
GTV Private Placement. The Video and GTV Private Placement materials—including the written
“Confidential Information Memorandum” (the “PPM”), Subscription Agreement, and Investment
Procedure Guidelines—were transmitted to thousands of potential investors, including those in the
Southern District of New York, via mobile messaging applications, social media, and text
messages.

               c.     Based on my review of the PPM, I have learned that the PPM promoted
GTV as the “first ever platform which will combine the power of citizen journalism and social
news with state-of-the-art technology, big data, artificial intelligence, block-chain technology and


1
 CC-1 has been charged in eleven counts in an Indictment filed in this District with
conspiring to commit wire fraud, securities fraud, bank fraud, and money laundering; and
committing wire fraud, bank fraud and money laundering in connection with, among other
conduct, the GTV Private Placement discussed herein.
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real-time interactive communication.” The PPM also contained the following representations, in
substance and in part, among others:

                     i.       The GTV Private Placement was for investors who were “interested
in evaluating an opportunity to invest capital into GTV”;

                   ii.       GTV planned to use the proceeds raised from the GTV Private
Placement “to expand and strengthen the business;” and

                    iii.    The PPM included a chart itemizing the “contemplated use of
proceeds” raised from the GTV Private Placement:




               d.     The PPM identified three “Executive Directors” of GTV. The first
Executive Director identified was “Yvette Y. Wang”— i.e., YANPING WANG, a/k/a “Yvette,”
the defendant. The PPM described WANG as “experienced in management, financial investment
and merger and acquisition” and “instrumental in building Saraca’s media business.” 2 Elsewhere
in the PPM, WANG was described as “key personnel” for GTV. The PPM further stated, in part,
that GTV’s “success depends in part upon the continued services of [its] key executive officers,
including Yvette Wang” and two other particular individuals, including another coconspirator not
named herein (“CC-2”).

                e.     Based on conversations with witnesses who previously worked for CC-1, I
have learned, in substance and in part, that WANG has had a close personal relationship with
CC-1. In particular, WANG has worked for CC-1 and CC-1’s family for several years, since at
least in or about 2018. Indeed, based on documents I have reviewed, I have learned that WANG
is the President, Treasurer, and Secretary of an entity that manages CC-1’s purportedly vast
personal wealth.



2
 “Saraca” refers to “Saraca Media Group,” which is identified in the PPM as GTV’s parent
company.

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                       WANG Received and Transferred Fraud Proceeds

       11.     Based on my review of videos and documents, including bank records and
subpoena returns, my conversations with witnesses and other law enforcement officers, open-
source research on the Internet, and my participation in this investigation, I have learned the
following, in substance and in part:

               a.      On or about July 24, 2018, YANPING WANG, a/k/a “Yvette,” the
defendant, opened a particular bank account in the name of Saraca (“Account-5601”). Account
opening documents for Account-5601, which I have reviewed, identify WANG as “Acting
Secretary” for Saraca. On or about May 21, 2020, WANG signed an additional business signature
card for Account-5601, in which WANG identified herself as “President” of Saraca. As of at least
that date, Account-5601 was held in the name of “Saraca Media Group DBA Himalaya Dollar.”
There are no other authorized signatories on Account-5601.

               b.      On or about July 24, 2018, WANG opened another particular bank account
in the name of “Saraca Media Group Inc.” (“Account-2038”). Account opening documents for
Account-2038 identity WANG as “Acting Secretary” for Saraca. On or about May 21, 2020,
WANG signed an additional business signature card for Account-2038 and identified herself as
“President.” As of at least that date, Account-2038 was held in the name of “Saraca Media Group
DBA Himalaya Dollar.” On or about June 3, 2020, WANG signed an additional business signature
card for Account-2038 and, again, identified herself as “President” of Saraca. There are no other
authorized signatories on Account-2038. 3

               c.     Both Account-5601 and Account-2038 are held by a particular bank, which
is headquartered int Manhattan (“Bank-1”).

                d.      Between on or about April 20, 2020, and on or about June 2, 2020,
approximately $452 million worth of GTV common stock was purportedly sold to more than 5,500
investors located in the United States, including in the Southern District of New York, and abroad.
Investors participated in the GTV Private Placement based, in part, on the belief that their money
would be invested into GTV to develop and grow that business, as the PPM promised.

               e.      In or about April 2020, Account-5601 received approximately 291 deposits
and transfers totaling approximately $32,543,000. Most of these deposits and transfers were
investments made by individuals seeking to participate in the GTV Private Placement. The
transfers appear to be from individuals located throughout the world, and many deposits and
transfers bear reference or memo information referring to the GTV Private Placement. For
example, memo lines state, among other things, in substance and in part: “Gtv Investment,” “Stock
Subscription,” “Investment,” “G- Tv Common Stock Subscription,” “InvestmeNt [sic],”
“Investment To G- Tv [sic],” and “Gtv Stockpurchase.” On or about April 30, 2020, the balance
of Account-5601 was approximately $32,474,000.

               f.      In or about May 2020, Account-5601 received approximately 2,450
deposits and transfers totaling approximately $291,899,000. Most of these deposits and transfers
3
 Based on bank records, CC-2 appears to have an online banking account with access to
Account-5601 and Account-2038.
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were investments made by individuals seeking to participate in the GTV Private Placement. Like
the prior month’s deposits and transfers, the transfers in or about May 2020 appear to be from
individuals located throughout the world, and many bear reference or memo information referring
to the GTV Private Placement. For example, memo lines state, among other things, in substance
and in part: “Capital Injection Infusion,” “To Inves Stment [sic],” “Private Placement Investment,”
“Gtv Media Investment,” “Gtv Inv,” and “Additional Stock Purchase.” On or about May 29, 2020,
the balance of Account-5601 was approximately $313,213,000.

                                      The Misappropriation

       12.    Based on my review of documents, conversations with witnesses, and other law
enforcement officers, I have learned the following, in substance and in part:

               a.     On or about June 3, 2020, YANPING WANG, a/k/a “Yvette,” the
defendant, signed a “Subscription Agreement” in her capacity as “President” of Saraca. Pursuant
to the Subscription Agreement, Saraca agreed to invest $100,000,000 into a high-risk hedge fund
(“Fund-1”). In the Subscription Agreement, WANG identified Account-5601 as the bank account
from which Saraca’s capital contribution would be wired. WANG further identified herself as the
only “Authorized Signatory” of Account-5601. In or about the morning of June 3, 2020, an
employee of the Fund-1 investment manager confirmed receipt of the signed subscription
documents.

              b.       Also, on or about June 3, 2020, $100,000,000 was transferred from
Account-5601 to Account-2038. Prior to the transfer, the balance of Account-2038 was $0. Based
on bank records, this $100,000,000 transfer was conducted online by the user “yvettewang2018,”
which is WANG’s Bank-1 online banking user ID. While authorizing that transfer, WANG was
logged into WANG’s Bank-1 online account from an IP address that geolocates to Manhattan.

              c.      On or about June 5, 2020, WANG authorized a $100,000,000 wire transfer
                    4
from Account-2038 to a bank account associated with Fund-1. This $100,000,000 transfer to a
Fund-1 bank account consisted of proceeds from investors in the GTV Private Placement. As
described above, the PPM did not contemplate using investor funds to invest into a high-risk hedge
fund. The PPM also did not contemplate using investor funds for the benefit of companies other
than GTV, including Saraca, whose ultimate beneficial owner is a close relative of CC-1.

             WANG Transfers Additional Fraud Proceeds to Other Bank Accounts

        13. Based on my review of documents and videos, my conversations with witnesses
and other law enforcement officers, and my participation in this investigation, I have learned the
following, in substance and in part:

              a.     On or about May 20, 2020, YANPING WANG, a/k/a “Yvette,” the
defendant, and CC-2 opened an account in the name of GTV (“Account-6691”). Account-6691
was opened at a particular FDIC-insured bank (“Bank-2”). WANG and CC-2 were the only

4
 Although the Subscription Agreement identified Account-5601 as the source of the capital
contribution, the transfer originated from Account-2038.

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authorized signatories for Account-6691. In account opening documents, WANG was identified
as “Director” of GTV. The account opening documents further stated that the intended balance of
Account-6691 would be between $25,000 to $50,000.

                 b.     On or about June 3, 2020, Account-5601 transferred $200,000,000 to
Account-6691. The reference line for this transfer read, in part, “Gtv Private Placement.” Just
prior to this transfer Account-6691’s balance was $0.

                c.     On or about June 9, 2020, Account-2038 transferred $38,000,000 to
Account-6691. That $38,000,000 was made up of investor funds from the GTV Private Placement
first sent to Account-5601 and another particular Bank-1 account, which were then transferred,
from on or about June 3, 2020 through on or about June 9, 2020, to Account-2038. Thus, as of on
or about June 10, 2020, the full $237,999,970 5 in Account-6691 was compromised of proceeds
from the GTV Private Placement.

                d.       On or about June 9, 2020, approximately $30,906 was wired from
Account-5601 to a bank account in the name of “Yanping Wang.” The reference line for this wire
transfer stated, in part, “Director Fee.”

                e.     Starting in or about June 2020, domestic banks that held accounts used to
process the funds raised through the GTV Private Placement began to freeze and close GTV-
associated bank accounts (including bank accounts held in the name of Saraca) because, among
other reasons, the accounts had received dozens of large incoming wire transfers, some of which
referenced the unregistered GTV Private Placement. Banks closings were also due to concerns
about money movements to and from GTV-associated and Saraca-associated accounts, which
raised questions about the propriety of the incoming transfers.

              f.      On or about July 10, 2020, Bank-2 closed Account-6691 and provided the
account holders, including WANG, one check in the amount of $137,999,970 (“Check-1”) and a
second check in the amount of $100,000,000 (“Check-2”).

               g.      In or about July 2020, WANG and others known and unknown attempted
to open a bank account in the name of GTV at a particular bank (“Bank-3”). In connection with
that attempt, on or about July 20, 2020, WANG signed an “Enhanced Diligence Request” which
contained information about the purpose for which the Bank-3 account would be used. WANG
signed the “Enhanced Diligence Request” in her capacity as “Director” of GTV.

                 h.       In the “Enhanced Diligence Request,” WANG stated, in substance and in
part, that the initial deposit into the account would “be approximately $138 million that was raised
from private placement in the form of a cashiers check.” According to WANG, “Saraca Media
Group was the recipient of [GTV] Private Placement funds on behalf of GTV (guided by [law
firm] in [Bank-1]. Saraca Media Group transferred the funds to GTV ([Bank-2]).” WANG further
stated, in substance and in part, that “[t]he funds in the account are funds of GTV Media Group
and are strickly [sic] for operational purposes and acquisitions.” Accordingly, WANG well knew
that the funds raised from the GTV Private Placement could not be invested in a high-risk hedge
fund held for the benefit of CC-1’s close relative.
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    Bank-3 debited $30 from Account-6691 for the two incoming wire transfers.
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       WHEREFORE, I respectfully request that a warrant be issued for the arrest of YANPING
WANG, a/k/a “Yvette,” the defendant, and that she be arrested, and imprisoned or bailed, as the
case may be.


                                                  /s/ Nicholas DiMarino (sworn telephonically)
                                                  ______________________________
                                                  Nicholas DiMarino
                                                  Special Agent
                                                  Federal Bureau of Investigation


Sworn to me through the transmission of
this Complaint by reliable electronic
                        10 day of March, 2023.
means (telephone), this ___


___________________________________
THE HONORABLE GABRIEL W. GORENSTEIN
United States Magistrate Judge
Southern District of New York




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